                 Case: 1:15-cv-05040 Document #: 65 Filed: 03/02/16 Page 1 of 7 PageID #:273                -tQill

                                              Dennis Harris
                                              Reg . No . N- 66L54
                                              Lawrence C.C.
                                              10930 Lawrence Rd.
                                              Sumner, IL . 62466
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       Office of the Clerk
       of the United States                                                     \;y?L^b
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       District Court                                                    _;;;[].1 :-, :ii-fRi$,   U.;LlRI
       Clerk, Thomas G. Bruton
       United States Courthouse
       Chicago, IL. 60604
       February 25, 20t6

       Dear Clerk Bruton,
       My Correspondence   with your office is in regards to Case N0. 1: C 5040,
       You Stamp,.--Filed the Response to the January 6th.Order on Feb.01, 2016.
       With the Order was a 4-Page Grievance. When my Stamped Filed copy was
       received, the 4-Page Grievance was not stamped. [,7as this filed with my
       Petition? Could you please respond to that.
       Thank you for taking the time to read my request and respond.

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       Response:
Case: 1:15-cv-05040 Document #: 65 Filed: 03/02/16 Page 2 of 7 PageID #:274

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                                                                                      OFFENDER'S GRIEVANCE,


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              NATURE OF GRIEVANCE:

                E Personal Property                           tr       Mail       Handling      E   Restoration of Good Time            E Disability              /)
                                                              tr                                E                                            gtPaa '/'/ k4-l
                                                                                                                                        fl-Eorn"n                           e
                /statt conouct                                         Dietary                      Medical Troatment

                fl Transfer Denial by FacilitY                u        Trans{er Denial by Transler Coordinator                                       o*,o,,,4

                fl Disciptinary Report:                       /               /
                                                                                                                                Facllity $ihere issu€d
                                                             Date ol Fl€porl
                                                                                                                                                   notification'
                      Note:     protective Custody Denials may be grievod immediately via the localadminlstration on the protsctive custody status
                                                                                                          Sh.krdown nccord, ttc') and send to:
                                                                                          rt r Dl|clPllnuy n.poit,
              Complste: Attach a copy ot any pertlnent documenl (.uch
                                                                                                                             raview by the Admintstralive Reviaw Board'
                      colns€lor, unloss the issue involves dlscipline, is deemad an emergency, is sublect.to direct by Counselor'
                                                                                                       or
                                                                                                                 not resolved
                      Gdevance Offlcer, onty it itre isiue involvis oisciptine at ttre preseitaciiity or issue
                      chlol a.tminlstratlve oftic6r, only il EMERGENCY grlsvancs.                                                  prolsctive cuslody, involunlary
                      Admlnlstraflvo Rsyrew Eoarh, onrv ir the issue invoives transier oenlat oy tha Translsrturdinator,
                                        psychotropic drugs,  issues lrom           r"ciiiti eiiept p--6rson"t ptoperly issues' or issues not resolved by the chief
                      administration ot
                      Administrative Otf icer.                           "non'e,


              Briel Summaryol Grlevance:

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                                                                                     Couneolor's Response (lt appllcabl€)
                Date
                Recelved:                                                     !senooirectytoGrievanceollicerEoutsioeiurisoictionofthisfacillty'Sendto
                                                                                                                 - Adminlstrative Boview Board, P'O' Box l92Z'
                                                                                                                     Springf iold, lL 62794-9277


                R6sponse:




          1                                     Print   Counsbfs   Name




                                                                                                                                       E    Yes; sxpedite smsrgancy grievance
                                                         I                         ls this determined to be of an emargency nature?
                                                                                                                                       E    No; an emergency is not substanthled'
                                                                                                                                       Otfender should submit lhB grievance
                                                                   -                                                                   in the normal manner.




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                                         OFFENDEB'S GRIEVANCE (Continued)




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                                           OFFENDER'S GRIEVANCE (Continued)




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                          Case: 1:15-cv-05040 Document #: 65 Filed: 03/02/16 Page 5 of 7 PageID #:277
                                                                  OFFENDER'S GBIEVANCE




NATURE OF GRIEVANCE:

  n    Personal Property                      E tlait Handling E Restoration of Good Time                              E Disability
  E   Statfoonduct                            E Dietary             E Medical Treatment                                E HIPAA
  E   Transler Oenial by Facility             f] Transfer Denial by Transfer Coordinator                               E   Other Gp*:tyt,


  E    Disciplinary Report:
                                             Dat€ of Beport                                                    Facllily w'rer€ issued


      Note:       protective Custody Denials may be grioved immediately via the local administration on the prot€ctive custody status notilication'

Compl€te: Attach a copy ol any pertlnent document (.rch         .. I DlslPllnrry RaPorl, Shtkodom n*ord, etc') and send to:
       counselor,   untess th6 issue involves disciptine, is deemed   an emorg€ncy, or is subiect to direct review by the Administrative Beview Board'
       Grlevanos Olflcer, only il the issue involv;s discipline at the present lacility or lssue not resolved by Counselor.
       Chl€l Adminlstratlv€ Olticer, onty il EMERGENCY grjevance.
                                                                                                                 prolective custody, jnvoluntary
       Admlnlslratlve Revtav eoarb, onty lt the issue invoivEs transter donlal by the Transler Cootdinator,
                                                                                                                        not resolved by the Chiel
       administration ol psychotropic-drujJ, i".r"" tro, another facility except p6rsonal property issu€s, or issues
       Administrative Otlicer.


Briel Summary of Grlevance:




 Rellel Requeded:




                                                                                         p€rsonal lniury or other serious or ineparable harm to self
 E    check only if this is an EMERGENCY grlevance due to a substantial risk ol imminent

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                                                                    (ConilnE on Et crre      d(b f noersrry)


                                                                Counselor'g Response (ll appllcable)
  Date                                                                                                          Outside iurisdiclion oI this facility. send to
  iecetvea:               /              /                E    send directly   to'G1evance Officer E                                              p.o. Box i922,
                                                                                                                odministrarive Review Board,
                                                                                                                Springlield, lL 6275+9277

  Response:




                                                                                                         counselo/s signature                     Date ol Bssponse
                               Print   Counslois   Name




                                                                                       -

                                                              ls this determined to be ot an emergency nature?       E    Yes; expedite emergency grievance
                                                                                                                     E    No; an emergency is not substantiated'
                                                                                                                     Otlender should submil this grievance
                                                                                                                     in the normal manner.




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                                                               OFFENDER'S GRIEVANCE



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NATURE OF GRIEVANCE:

 fl     Personal Property                   tr Mail Handling E Restoration of Good Time E Disability
 Ellstatl conduct                           tr Dietary f] Medical Treatment                     fl HrPAA
 fl     Transfer Denial bY Facility         tr Transfer Denial by Transter Coordinator          E other (spdifv):

 f]     Disciplinary    Report:             /      /
                                                                                       Facllity whgr€ i$ued
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        Note:       protective custody Denials may be grieved immsdiately vla ths local administration on the

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         G1evance olficer, onry ir iie issue invotvJs oisclptine at ttre
         chlel Adminlstratlvo otfber, only if EMERGENCY grievancs'
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         Admlnlstratlve Revlgw Eoard, only i{ the issue invotvos tranJier Oenlat
                                                                                     p6rsonar ptoperty issues, or issues not resolvgd by the chiel
         administration of psychotropic drugs, issues from anomer raciiiti eiiept
         Adminislrative Otf icer.


Briel Summary ol Grlevancs:




 Hellel RequBsted:




 ffiGENcYgrievanceduetoasubstantialriskolimminentpersonallniuryorotherseriousor|rreparab|eharmtoself.

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  Date
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  Recelved:                                                                                                    Admlnlsirative Review Board, P O' Box 1922'
                                                                                                               Springf ield, ll
                                                                                                                              62794-s277


  Response:




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      Date                                                                                                              Yes; expedite emergency grievance
                                                            ls this detarmined to be ol an emergency   nature?     il
      Recelved:                                                                                                    E    No; an emergency is not substantiaied
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